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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Commuter Rail Division of the Regional
Transportation Authority
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:25−cv−02439
                                                                   Honorable John J. Tharp
                                                                   Jr.
Union Pacific Railroad Company
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 11, 2025:


       MINUTE entry before the Honorable John J. Tharp, Jr:The defendant's motion to
dismiss [41] is taken under advisement. The plaintiff's response is due by 7/1/25; the
defendant's reply is due by 7/15/25. Mailed notice(air, )




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